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             DAY OF RESISTANCE TOOLKIT
                                     INTRODUCTION

  National Students for Justice in Palestine is calling for a national day of resistance on
  college campuses across occupied Turtle Island and internationally this Thursday, October
  12th, 2023

  On the 50th anniversary of the 1973 war, the resistance in Gaza launched a surprise
  operation against the Zionist enemy which disrupted the very foundation of Zionist settler
  society. On the morning of October 8th, the Palestinian resistance stormed the illegitimate
  border fence, gaining control of the Gaza checkpoint at Erez, and re-entering 1948 Palestine.
  Referred to as Operation Towfan Al-Aqsa (Al-Aqsa Flood), the resistance has taken
  occupation soldiers hostage, fired thousands of rockets, taken over Israeli military vehicles,
  and gained control over illegal Israeli settlements. In the West Bank, the Palestinian
  resistance has called for collective action by the Palestinian masses amidst attempts by the
  Zionist entity to lock-up the West Bank. The Palestinian resistance has called for mass
  protests in every Palestinian city, and Palestinian workers have called for a general strike. ​In
  Gaza, Israel has launched an onslaught of airstrikes. As of Sunday, Oct 8th at 12pm ET, Israel
  has murdered 320 Palestinians and left over 2200 others injured. Despite this, our people
  choose resistance over negotiated cages on our homeland. Fearlessly, our people struggle
  for complete liberation and return.

  Today, we witness a historic win for the Palestinian resistance: across land, air, and sea, our
  people have broken down the artificial barriers of the Zionist entity, taking with it the facade
  of an impenetrable settler colony and reminding each of us that total return and liberation to
  Palestine is near. As the Palestinian student movement, we have an unshakable
  responsibility to join the call for mass mobilization.

  National liberation is near— glory to our resistance, to our martyrs, and to our steadfast
  people.

  JOIN THE DAY OF RESISTANCE NATIONAL CALL-IN MEETING
     ● On Monday, October 9th @ 5:00 PT/ 7:00 CT/ 8:00 ET, we will be hosting a national
        call-in meeting to meet with chapters, talk through the political significance of this
        moment, talk through how-to’s for the protest day of action and troubleshoot any
        support needed. Please RSVP here: https://forms.gle/AbK7RmidTRPYVcAfA

  CALL TO ACTION: NATIONAL DAY OF RESISTANCE
     ● On Thursday, October 12th, National Students for Justice in Palestine is calling for a
        national day of resistance from the student movement for Palestine liberation on
        college campuses across occupied Turtle Island (so-called US and Canada) and
        beyond. We must continue to resist directly through dismantling Zionism, and
        wielding the political power that our organizations hold on our campuses and in our
        communities. We are asking chapters to host demonstrations on campus/in their
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         community in support of our resistance in Palestine and the national liberation
         struggle — one which they play a critical role in actualizing.
     ●   Please fill out this brief form to let us know what events you will be hosting! These
         will be posted and publicized on our social media – filling out this form will help us
         better coordinate and unify nationally as a student movement
         https://forms.gle/H7uqKuVL22AAtzUZA
     ●   Please upload any pictures or videos that you are comfortable with us sharing here!
         https://drive.google.com/drive/folders/1r4_5Ugt9eocMgvqm2J7FXlxRGTy0vXBJ

  We will also be having a “how to organize a protest,” including roles, security, media
  training, and more, on the National Call-in meeting on Monday, Oct 9th at 8pm ET. The
  presentation + resources shared will be added to the tool-kit following the presentation.
  If you need additional help organizing or planning your protest, please reach out to National
  Students for Justice in Palestine. (RSVP link above).

  If a protest is not possible, engagement across the movement — whether it be a sit-in,
  disruption, or educational event — is highly encouraged!
  Other ways to participate
       1. Table/Flyer on campus
              a. Challenging Zionist hegemony and popularizing our resistance is a critical part
                   of advancing our national movement! Print flyers to put up around your
                   campus. We encourage you to use any of the graphics linked in this toolkit.
                   Here is a Tabling 101, and for examples of tabling materials, click here and
                   here, For some tips on how to table and how to respond to common Zionist
                   arguments, click here
       2. Teach-ins
              a. Make sure people on your campus know what’s happening in Palestine, and
                   are armed with a framework which advances national liberation– host a
                   teach-in on your campus! We will include a teach-in during the National
                   Call-in meeting – please attend for inspiration. We will also be linking the
                   presentation in the toolkit following the call-in meeting.
       3. Sign onto statement from Bears for Palestine
              a. We welcome both individual and organizational endorsements onto this
                   statement by Berkeley Bears for Palestine in unwavering support of the
                   Palestinian resistance
              b.      Towfan Al-Aqsa Statement – Bears for Palestine
       4. Write a local statement of solidarity
              a. Statements of support show a cohesive and united movement. Work with
                   other organizations on your campus to put out a joint statement expressing
                   your campus’ support for Palestine.
       5. Share within your network/region:
              a. If you’re near other SJPs, let them know what you’re planning! If you’re in close
                   geographic proximity to one another, you may be able to plan a joint action.
       6. Help spread the word by sharing widely on your campuses and in your communities
              a. Contact student organizations across movements to share your action on
                   social media. Engage your community, and let everyone know that the
                   student movement on occupied Turtle Island stands firmly in support of
                   Palestinian resistance.
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                               MESSAGING & FRAMING

  For over 75 years, our Palestinian people, through steadfast resistance, have waged
  a prolonged war for liberation and return to our colonized homeland. What we are
  witnessing now is a heightened stage of the Palestinian struggle–through tearing
  down colonial infrastructure and liberating our colonized land from illegal
  settlements and military checkpoints, our people are actualizing revolution.
  Palestine will be liberated from the river to the sea, and our resistance, through their
  bravery and love for land, continue to bring dignity and honor to the Palestinian
  people. As the diaspora-based student movement for Palestine liberation, our
  responsibility is to not only support, but struggle alongside our people back home.
  The forces of Zionism engage in media campaigns which attack our people and
  resistance from all sides– it is our responsibility, therefore, to break through their
  hegemonic narratives of “war” and “unprovoked aggression,” and instead ground our
  campuses and communities in a narrative which centers the legitimacy of resistance
  and the necessity of complete liberation. Please find below a breakdown of
  framework and important messaging which help contextualize, frame, and above all
  normalize and support our fearless resistance.

     ●   When people are occupied, resistance is justified — normalize the resistance.
            ◆ The Palestinian people have the right to resist colonization and oppression. The
               Palestinian people have the right to return to their homeland and free
               themselves from the complete land, air, and sea siege they’ve been subjected
               to; this requires resistance, and it is both morally just and politically necessary.
               These events are the natural and justified response to decades of oppression
               and dehumanization.
            ◆ The fight for Palestinian liberation is a necessary struggle against an
               occupying and colonial state; not a “war” or “conflict.” It is a struggle for
               national liberation.
            ◆ In the eyes of the West, there is no “right” way for Palestinians to fight for their
               freedom. Every tactic is met with repression.
            ◆ The occupation, the day to day and the existence of Israel is not peaceful;
               there is no ‘maintaining the peace’ with a violent settler state.
            ◆ Settlers are not “civilians” in the sense of international law, because they are
               military assets used to ensure continued control over stolen Palestinian land.
            ◆ Responsibility for every single death falls solely on the zionist entity. They do
               not care one bit for the Geneva Conventions but demand Palestinians follow
               them to the letter.
     ●   Gaza as the cradle of resistance
            ◆ Gaza broke out of prison. Resistance fighters captured one of the bulldozers
               used to destroy Palestinian homes, and used it to breach the illegitimate
               border fence back into ‘48 Palestine.
            ◆ Gaza is being subject to collective punishment because the occupation
               knows liberation is inevitable.
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             ◆ Zionists are telling Gazans to leave while also denying them freedom of
                 movement–this is a call for genocide of Palestinians.
                      ● “I say to the residents of Gaza: Leave now because we will operate
                         forcefully everywhere.”--Netanyahu
             ◆ This is not “unprovoked”. Apartheid, ethnic cleansing, indiscriminate bombing,
                 arbitrary detention, destruction of infrastructure, 75 years of settler
                 colonialism are provocations.
     ●   Liberation is material
             ◆ Liberation is not an abstract concept. It is not a moment circumscribed to a
                 revolutionary past as it is often characterized. Rather, liberating colonized land
                 is a real process that requires confrontation by any means necessary. In
                 essence, decolonization is a call to action, a commitment to the restoration of
                 Indigenous sovereignty. It calls upon us to engage in meaningful actions that
                 go beyond symbolism and rhetoric. Resistance comes in all forms— armed
                 struggle, general strikes, and popular demonstrations. All of it is legitimate,
                 and all of it is necessary.
             ◆ “You don’t get freedom peacefully. Freedom is never safeguarded peacefully.
                 Anyone who is depriving you of freedom isn’t deserving of a peaceful
                 approach by the ones who are deprived of their freedom.”-Malcolm X
     ●   israel is fragile
             ◆ This action of resistance shatters the illusion of Israel as an impenetrable,
                 indestructible entity. The zionist entity is fragile, and Palestinian resistance is
                 alive. The iOF are still in disarray and the resistance fighters are still launching
                 new attacks into 48.
             ◆ The zionist entity built a massive technological barrier to imprison Gaza that
                 the resistance neutralized in hours. They massively underestimated the
                 ingenuity of the resistance, and will continue to do so.
             ◆ Settlers are already fleeing the land, their ‘dedication’ to the settler colony is
                 easily broken. The dedication of Palestianians for their national liberation is
                 unshakable.
             ◆ From Rhodesia to South Africa to Algeria, no settler colony can hold out forever.
     ●   Unity Intifada
             ◆ The revolution is being waged across historic Palestine— not just
                 cross-factional, but unifying our people in the name of resistance
             ◆ All Palestinian factions in Gaza appear to be participating under unified
                 command.
             ◆ This is the first time since 1949 that a large-scale battle has been fought within
                 ‘48 Palestine.
     ●   We as Palestinian students in exile are PART of this movement, not in solidarity
         with this movement.
             ◆ This is a moment of mobilization for all Palestinians. We must act as part of this
                 movement. All of our efforts continue the work and resistance of Palestinians
                 on the ground.

                                          HASHTAGS
     ●   #studentdayofresistance
     ●   #operationalaqsaflood
     ●   #nationalliberationisnear
     ●   #dayofresistance
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                          TEMPLATE GRAPHICS
  CANVA GRAPHIC TEMPLATE LINK FOR PROTESTS [LINK WITH
  BELOW GRAPHICS]

  TABLING MATERIALS AND OTHER GRAPHICS COMING SOON
